                                             United States District Court 
                                          Eastern District of North Carolina 
                                                 Office of the Clerk 
                                                   PO  Box 25670 
                                           Raleigh, North Carolina  27611 
                        
    Phone (919) 645-1700
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                                                                                   Peter A. Moore, Jr.
                                                                                       Clerk of Court
 
                                              October 31, 2018

Marian Snow
103 Nostalgia Lane
Zebulon, NC 27597

Counsel of Record

            RE:       Snow v. General Electric Company, et al.
                      Case No. 5:18-CV-511-FL

Dear Ms. Snow and Counsel of Record:

On October 31, 2018, the court entered an order by text-only docket entry in the above-referenced
case. The order states as follows:

TEXT ORDER - In this matter transferred in on 10/29/2018, from the Northern District of
Alabama, the court sets a deadline of 11/23/2018 for filing of answer. The court sets aside
the previous court's scheduling order [15] . This court's order on scheduling will enter after
framing of the pleadings. Signed by District Judge Louise Wood Flanagan on 10/31/2018.
(Tripp, S.) (Entered: 10/31/2018)

A copy of the notice of electronic filing of the text order is enclosed. The court did not write the
order on a separate document. These entries are the orders of the court. As explained in Section
V(I)(2) of the Eastern District of North Carolina’s Case Management/Electronic Case Filing
Policy Manual, the text-only entry is the court’s only order on the matter, and a docket text order
is official and binding. If you need additional information, you may refer to the policy manual,
which is posted on the district’s website at www.nced.uscourts.gov. You may also review the
policy manual on file at the Clerk’s Office.

Thank you for your attention to this matter.

                                                    Sincerely,


                                                    Susan W. Tripp, Deputy Clerk

Enclosure:            Notice of Electronic Filing of Text Order




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